414 F.2d 832
    MAUK SEATTLE LUMBER CO., Appellant,v.ALCAN PACIFIC CO., Appellee.ALCAN PACIFIC CO., Appellant,v.MAUK SEATTLE LUMBER CO., Appellee.
    Nos. 21532, 21532-A.
    United States Court of Appeals Ninth Circuit.
    May 5, 1969.
    
      John Kovarik (argued), of Casey &amp; Pruzan, Seattle, Wash., Collins &amp; Clasby, Fairbanks, Alaska, for appellant.
      Charles E. Cole (argued), Fairbanks, Alaska, for appellee.
      Before JERTBERG and MERRILL, Circuit Judges, and FOLEY, District judge.1
      PER CURIAM:
    
    
      1
      On July 22, 1966, Judge Raymond E. Plummer, of the District of Alaska, filed his Findings of Fact and Conclusions of Law in Alcan Pacific Co., Plaintiff, vs. Mauk Seattle Lumber Co., Defendants.  On November 22, 1966, the District Judge filed his Order Supplementing Findings of Fact and his Judgment.
    
    
      2
      Reviewing the entire record on appeal, we are satisfied that the Findings of the trial court are substantially supported by the evidence and are not 'clearly erroneous'.
    
    
      3
      On the basis of the Findings of Fact, Supplemental Findings of Fact, Conclusions of Law, and Order of the District Judge, 302 F.Supp. 606, the judgment is affirmed.
    
    
      
        1
         Honorable Roger D. Foley, District of Nevada, sitting by designation
      
    
    